
977 So.2d 928 (2008)
STATE ex rel. Larry LOFTON
v.
STATE of Louisiana.
No. 2007-KH-1235.
Supreme Court of Louisiana.
March 14, 2008.
In re Lofton, Larry;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. I, No. 288-637; to the Court of Appeal, Fourth Circuit, No. 2007-K-0321.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694.
